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                                                                                             Squire Patton Boggs (US) LLP
                                                                                             1211 Avenue of the Americas, 26th Floor
                                                                                             New York, New York 10036
                                                                                             O +1 212 872 9800
                                                                                             F +1 212 872 9815
                                                                                             squirepattonboggs.com


                                                                                             Norman N. Kinel
                                                                                             T +1 212 407 0130
                                                                                             norman.kinel@squirepb.com


May 10, 2022

VIA FEDEX AND ECF

The Honorable Judge Lisa G. Beckerman
United States Bankruptcy Court
for the Southern District of New York
One Bowling Green
New York, New York 10004-1408

          Re:        In re PB Life and Annuity Co., Ltd., et al., Case No. 20-12791 (LGB)

Dear Judge Beckerman:

       As your Honor knows, together with our co-counsel, my firm represents Colorado Bankers
Life Insurance Company, Bankers Life Insurance Company, Southland National Insurance
Corporation and Southland National Reinsurance Corporation (collectively, the “NC Insurance
Companies”) in the above-referenced chapter 15 bankruptcy cases.

        On March 28, 2022, the Joint Provisional Liquidators (the “JPLs”) for the above-referenced
Debtors filed the Joint Provisional Liquidators’ Motion for Entry of an Order Pursuant to Sections
105(a) and 363 of the Bankruptcy Code Approving Procedures to Sell Assets [Docket No. 173]
(the “Second Sale Motion”). The NC Insurance Companies, among other parties, filed objections
to the Second Sale Motion (see Docket Nos. 181, 178 and 180). A hearing on the Second Sale
Motion was held before your Honor on April 19, 2022, during which your Honor ruled that “…
the proposed form of order and the proposed asset sale procedures aren’t acceptable as drafted to
the Court.” See Transcript of April 19 hearing, at p. 91. Instead, your Honor informed the JPLs
of the procedures that would be “acceptable to the Court because there are changes that would
have to be made to these procedures before the Court would be prepared to sign the order.” Id.

       On May 4, 2022, counsel for the JPLs circulated to counsel who appeared at the hearing a
revised draft of the proposed sale order (the “Proposed Order”) for their review and comments.
On the same day, the undersigned sent counsel for the JPLs (and the other parties) a revised
Proposed Order, including several changes which the NC Insurance Companies believed were
consistent with your Honor’s rulings and deleting revised language included by the JPLs’ counsel
which the NC Insurance Companies believed to be inconsistent with, or otherwise problematic
given your Honor’s and other objecting parties’ concerns expressed during the hearing. On the
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following day, May 5, 2022, counsel for the Lindberg entities advised counsel for the JPLs that
the NC Insurance Companies’ comments were acceptable to them. Also on May 5, 2022, counsel
for the JPLs wrote to advise that they had accepted some, but not all, of the NC Insurance
Companies’ comments. By email correspondence of the same date, the undersigned explained to
the JPLs’ counsel why the comments they had rejected had to be included. It was not until four
days later— on May 9, 2022—that counsel for ULICO wrote to advise that they had “eliminated
the language Mr. Kinel suggested in paragraph 4,” “object[ed] to the inclusion of the reference to
the Trust Agreements in Paragraph 5,” and that the JPLs “concur[ed] with all of these changes.”1
The undersigned advised counsel that, if those changes were made, the NC Insurance Companies
would object to entry of the Proposed Order.

        There are several changes which the NC Insurance Companies believe are required for the
Proposed Order to properly reflect your Honor’s specific instructions and guidance, each of which
is contained in the attached revised form of the Proposed Order (in tracked changes). The reasons
for each of these changes are set forth below:

                   Paragraphs 2.a.i and 2.b.ii: The JPLs’ qualifications regarding the requirement only
                    to obtain consents “in accordance with all known, pre-existing and still valid
                    agreements” effectively renders this compliance requirement meaningless. Indeed,
                    the JPLs could always assert that they did not “know” about an agreement’s
                    existence (if, in fact, that were true, they would undoubtedly be protected in any
                    event). Even more troubling, is the qualification regarding compliance only with
                    “still valid agreements.” What standard would be applied to determine whether an
                    agreement is “still valid” and by whom? Similarly to “known” agreements, if an
                    agreement is no longer “valid” (whatever that term actually means), it would be
                    highly unlikely to pose any risk of non-compliance by the JPLs.

                   Paragraph 3: The NC Insurance Companies believe that, if the Court provides the
                    JPLs with a comfort order stating that sales of Trust Assets are not governed by the
                    Asset Sales Procedures (see paragraph 5 of the Proposed Order), parties that might
                    be affected thereby should also receive the comfort of knowing that this Court’s
                    order may not in any way be used to impair their rights with respect to any such
                    assets.

                   Paragraph 4: The phrase “which is to be shared with the Debtors and the Court and
                    is subsequently approved by the Court” simply makes no sense and is unnecessary.
                    First, the next sentence in that paragraph already requires that any claim of privilege
                    be handled in accordance with the Local Rules and logged, which takes care of the
                    inclusion of the word “shared,” unless the JPLs’ intent is to require that a privileged
                    document be turned over to the JPLs and the Court—which obviously would defeat
                    its protection as privileged. Second, there is no way for a party to know in advance

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  It is worth noting that counsel for the JPLs first indicated that they had accepted all of the NC Insurance Companies’
changes except for those in paragraph 2, but then were apparently “overruled” by counsel for ULICO. This fact—in
addition to others which have come to light during the course of these proceedings—clearly calls into question whether
counsel for the JPLs are taking direction from their client, or rather from a single (albeit large) unsecured creditor of
the one of the Debtors.


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                    whether a claim of privilege will be “subsequently approved by the Court.”
                    Obviously, if there is a disagreement over documents with respect to which
                    privilege has been asserted, a determination by the Court will be required. In sum,
                    the entire phrase should be deleted from the Proposed Order.

                   Paragraph 5: The NC Insurance Companies believe that inherent in your Honor’s
                    ruling that any sales of Trust Assets must be agreed to by the JPLs, ULICO and
                    TMI is the requirement that any such sales “only be made in accordance with the
                    terms of the Trust Agreements,” the phrase which the NC Insurance Companies
                    added to this section. Again, to the extent that the JPLs are seeking a comfort order
                    with respect to the sale of Trust Assets, your Honor’s requirement that those three
                    parties agree in advance to any such sale undoubtedly also means that any such
                    sales must be in accordance with the terms of the relevant trust agreements.

      We thank your Honor for your consideration of this matter and respectfully request that the
Proposed Order which the Court ultimately enters include the changes described above.

                                                  Respectfully yours,


                                                  /s/ Norman N. Kinel
                                                  Norman N. Kinel

cc:       Wes J. Camden, Esq.
          Lauren E. Fussell, Esq.
          Nicholas F. Kajon., Esq.
          Eric M. Robinson, Esq.
          Constantine D. Pourakis, Esq.
          Andreas D. Milliaressis, Esq.
          Clinton Cameron, Esq.
          (All via ECF)




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